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(full name) (Register o).

IN THE UNITED STATES DISTRICT COURT FOR THE
WES'I'ERN DISTRICT OF MISSOURI

 

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18§_3325:[]Vj S._"_BP _-_P_

Plaintitt`(s).

 

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Defendant(s).

COMPLAINT PURSUANT TO 28 U.S.C. § 1331

Place of present confinement of plaintiff(s):M§§£g-ES_M£MM

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Pa:rties to this civil action:

Please give your commitment name and any another name(s) you have used while
incarcerated

A'.; leuHMra W§ll’le/§,Llon _ RegisterNo.§mL£)limg£

Addre§s .O

 

B. Defendant BfClCK

Is employed as g (` Q'[]Q€ffiolg_@/ @§F!.C~€F

 

 

 

For additional plaintiffs or defendants, provide above information in same format on a

separate page.

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III.

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Do your claims involve medical treatment? Yes l/ No

 

Do you request a jury n'ial? Yes l/ No
Do you request money damages? Yes l/ No
State the amount claimed? $l.:@@ U_(actual/punitive)

Are the wrongs alleged in your complaint continuing to occur? Yes No _[{

Grievance procedures:

A. Does your institution have an administrative or grievance rocedure?

Yes No
B. Have the claims in this case been presented through an administrative or grievance
procedure within the institution? Yes No

 

C. If a grievance was filed, state the date your claims were presented, how they were
presente and the result of that rocedure. (Attach a copy of the final result.)

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D. If you have not filed a grievance, state the reasons.

 

 

 

Previous civil actions:
A. Have you begun other cases in state or federal courts dealing `th the same facts involved
in this case: Yes No

B. Have you begun other cases in state or federal courts relating o the conditions of or
treatment while incarcerated? Yes No .

C. If your answer is “yes,” to either of the above questions, provide the following
information for each case.

(l) Style:
(2) Date filed:

 

(Plaim;in) (Defendam)

 

(3) Court where filed:

 

(4) Case Number and citation:

 

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(5) Basic claim made:

 

(6) Date of disposition:

 

(7) Disposition:

 

(Pending) (on appeal) (resolved)

(8) If resolved, state whether for:

 

(Plaintiff`) or (defendant
For additional cases, provide the above information in the same format on a separate page.
Statement of claim:

State here as briefly as possible the facts of your claim. Describe how each named defendant
is involved. Include the names of other persons involved, dates and places. Describe
Specifically the injuries incurred. Do not give legal arguments or cite cases or statutes. You
may do that in Item “B” below. Ifyou allege related claims, number and set forth each claim
in a separate paragraph. Use as much space as you need to state the facts. Attach extra
sheets, i necessary. Unrelated separate claims h uld be raised m a separate civil action.

 

 

 

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Relief: S te briefly exactly what you wan thel court to do for you. Make no le al argum nts.

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Counsel:

A. If someone other than a lawyer is assisting you in preparing this case, state the person’s
name.

 

B. Have you made any effort to contact a private lawyer to determine if he or sh would
represent you in this civil action? Yes No §/_’

If so, state the names(s) and address(es) of each lawyer contacted

 

 

 

C. Have you previously had a lawyer representing you in a civil action in this cour/z?/
Yes No §-

If so, state the lawyers name and address.

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Executed(signed)this Q{J day of Sapie' mb£f 2011

(sign §/s ofPlaimii-‘f(s)

 

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